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     Attorneys for Plaintiff
 6

 7                               UNITED STATES DISTRICT COURT
 8                             NORTHERN DISTRICT OF CALIFORNIA
 9                                   SAN FRANCISCO DIVISION
10
      RAHINAH IBRAHIM, an individual                  Case No. C 06 0545 WHA
11           Plaintiff,
12    vs.                                             NOTICE OF VOLUNTARY DISMISSAL
                                                      WITHOUT PREJUDICE
13    DEPARTMENT OF HOMELAND
      SECURITY; MICHAEL CHERTOFF, in his
14    official capacity as the Secretary of the
      Department of Homeland Security; TOM
15    RIDGE, in his official capacity as the former
      Secretary of the Department of Homeland
16    Security; TRANSPORTATION SECURITY
      ADMINISTRATION; KIP HAWLEY; in his
17    official capacity as Administrator of the
      Transportation Security Administration;
18    DAVID M. STONE, in his official capacity
      as Acting Administrator of the
19    Transportation Security Administration;
      TERRORIST SCREENING CENTER;
20    DONNA A. BUCELLA, in her official
      capacity as Director of the Terrorist
21    Screening Center; NORM MINETA, in his
      official capacity as Secretary of
22    Transportation; FEDERAL AVIATION
      ADMINISTRATION; MARION C.
23    BLAKEY, in her official capacity as
      Administrator of the Federal Aviation
24    Administration; FEDERAL BUREAU OF
      INVESTIGATION; ROBERT MUELLER,
25    in his official capacity as Director of the
      Federal Bureau of Investigation; SAN
26    FRANCISCO AIRPORT; CITY OF SAN
      FRANCISCO; COUNTY OF SAN
27    FRANCISCO; COUNTY OF SAN MATEO;
      SAN FRANCISCO POLICE
28    DEPARTMENT; UAL CORPORATION;
                                            1
     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE, CASE NO. C 06-0545 WHA
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 1    UNITED AIRLINES; DAVID NEVINS, an
      individual; RICHARD PATE, an individual;
 2    JOHN BONDANELLA, an individual;
      JOHN CUNNINGHAM, an individual;
 3    ELIZABETH MARON, an individual; and
      DOES 1 through 100, inclusive.
 4
             Defendant.
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 7
            Please take notice that plaintiff, Rahinah Ibrahim, hereby dismisses without prejudice her
 8

 9   complaint as to defendant, County of San Mateo, only.

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11   DATED: April 26, 2006                               McMANIS FAULKNER & MORGAN
12

13                                                       /S/ Marwa Elzankaly
                                                         JAMES MCMANIS
14                                                       MARWA ELZANKALY
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16                                                       Attorneys for Plaintiff,
                                                         RAHINAH IBRAHIM
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     NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE, CASE NO. C 06-0545 WHA
